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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )             CASE NO. 8:13CR328
                                           )
              Plaintiff,                   )
                                           )
              vs.                          )             TENTATIVE FINDINGS
                                           )
MARCUS WRIGHT-PAYNE,                       )
                                           )
              Defendant.                   )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”). The government has not objected to the PSR. The Defendant filed

“Defendant’s Position Statement Re: Revised Presentence Investigation Report” (Filing

No. 45) representing that the PSR reflects the objections and contentions of the Defendant,

and that those objections and contentions are listed in the Addendum to the PSR. The

Defendant also filed a Motion for Variance and supporting brief (Filing Nos. 46 and 47).

See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The Defendant’s Position Statement Re: Revised Presentence Investigation

Report” (Filing No. 45) will be heard at the sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.     The Defendant’s Motion for Variance (Filing No. 46) will be heard at

sentencing; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 10th day of March, 2014.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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